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                                             UNITED STATES DEPARTMENT OF JUSTICE
                                             OFFICE OF THE UNITED STATES TRUSTEE
                                               CENTRAL DISTRICT OF CALIFORNIA
 In Re:                                                                               CHAPTER 11 (BUSINESS)
    Ironclad Performance Wear Corporation,
    a Nevada corporation,                                                             Case Number:             I :17-bk-12409-MB
                                                                                      Operating Report Number:                     6
                                                                 Debtor(s).           For the Month Ending:                   Feb-18

                                              I. CASH RECEIPTS AND DISBURSEMENTS
                                                     A. (GENERAL ACCOUNT*)

 1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                         N/A

 2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                             N/A
 ACCOUNT REPORTS

 3. BEGINNING BALANCE:

 4. RECEIPTS DURING CURRENT PERIOD:
    Accounts Receivable - Post-filing                                                N/A
    Accounts Receivable - Pre-filing                                                 N/A
    General Sales
    Other (Specify)
    **Other (Specify)

     TOTAL RECEIPTS THIS PERIOD:                                                                                                N/A

5. BALANCE:                                                                                                                     N/A

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2) N/A
   Disbursements (from page 2)                   N/A

     TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                        N/A

7. ENDING BALANCE:                                                                                                              N/A

8. General Account Number(s):                                                        None - all operations conducted by Ironclad California

     Depository Name & Location:                                                     N/A



* All receipts must be deposited into the general account.
** Include receipts from the sale of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold,
    to whom, terms, and date of Court Order or Report of Sale.
***This amount should be the same as the total from page 2.


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                               TOTAL DISBURSEMENTS FROM GENERAL ACCOUNT FOR CURRENT PERIOD

   Date              Check          Payee or DIP                                                          *Amount                **Amount
 mm/dd/yyyy         Number            account                             Purpose                        Transfered              Disbursed     Amount
                                                                                                                                                        0.00




                                            TOTAL DISBURSEMENTS THIS PERIOD:                                       0.00                 0.00          $0.00
* Fill in amounts in this column if they are TRANSFERS to another Dll' account (e.g. Payroll or Tax); the "amount" column will
be filled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.




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                                                                  GENERAL ACCOUNT
                                                                 BANK RECONCILIATION

                            Bank statement Date:                                            Balance on Statement:

 Plus deposits in transit (a):
                                                                           Deposit Date        Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                            0,00
Less Outstanding Checks (a):
                    Check Number                                           Check Date           Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                            0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                               $0,00
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment

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                          I. CASH RECEIPTS AND DISBURSEMENTS
                                           N/A

1. TOTAL RECEIPTS PER ALL PRIOR PAYROLL ACCOUNT REPORTS              N/A

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PAYROLL                   N/A
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                N/A

4. RECEIPTS DURING CURRENT PERIOD:                                   N/A
   (Transferred from General Account)

5. BALANCE:                                                          N/A

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                               N/A

7. ENDING BALANCE:                                                   N/A

8. Disbursements Account Number(s):               N/A

  Depository Name & Location:                     N/A




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        TOTAL DISBURSEMENTS FROM PAYROLL ACCOUNT FOR CURRENT PERIOD

  Date      Check
mm/dd/yyyy Number          Payee                    Purpose                Amount




                                    TOTAL DISBURSEMENTS THIS PERIOD:             0.00




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                                                                   PAYROLL ACCOUNT
                                                                  BANK RECONCILIATION

                               Bank statement Date:                                          Balance on Statement:

  Plus deposits in transit (a):
                                                                          Deposit Date          Deposit Amount




  TOTAL DEPOSITS IN TRANSIT                                                                                           0.00

  Less Outstanding Checks (a):
                      Check Number                                        Check Date             Check Amount




  TOTAL OUTSTANDING CHECKS:                                                                                           0.00

  Bank statement Adjustments:
  Explanation of Adjustments-




  ADJUSTED BANK BALANCE:                                                                                             $0.00

  $ It is acceptable to replace this form with a similar form
  •+ Please attach a detailed explanation of airy bank statement adjustment


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                                                      I. D SUMMARY SCHEDULE OF CASH

ENDING BALANCES FOR THE PERIOD:
                               (Provide a copy of monthly account statements for each of the below)


                                                                    General Account:                   N/A
                                                              Disburesments Account:                   N/A
                                                                       Tax Account:
    *Other Accounts:


       *Other Monies:
                                                         **Petty Cash (from below):                                            0.00

TOTAL CASH AVAILABLE:                                                                                                                        0.00



Petty Cash Transactions:
        Date                 Purpose                                                                            Amount
                        None




TOTAL PETTY CASH TRANSACTIONS:                                                                                                               0.00



* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & accountli
** Attach Exhibit Itemizing all petty cash transactions



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                     II. STATUS OF PAYMENTS TO SECURED CREDITORS, LESSORS
                           AND OTHER PARTIES TO EXECUTORY CONTRACTS

                                                                     Post-Petition
                          Frequency of Payments                   payments not made
 Creditor, Lessor, Etc.         (Mo/Qtr)        Amount of Payment     (Number)                   Total Due




                                                                              TOTAL DUE:                  0.00


                                            III. TAX LIABILITIES

FOR THE REPORTING PERIOD:
                                                          Gross Sales Subject to Sales Tax:
                                                                        Total Wages Paid:

                                                   Total Post-Petition                        Date Delinquent
                                                    Amounts Owing Amount Delinquent            Amount Due
                        Federal Withholding
                        State Withholding
                        FICA- Employer's Share
                        FICA- Employee's Share
                        Federal Unemployment
                        Sales and Use
                        Real Property
                 Other: See Ironclad California's monthly operating report.
                                        TOTAL:

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                                    IV. AGING OF ACCOUNTS PAYABLE AND RECEIVABLE
                                              See Ironclad California's monthly operating report
                                                                 *Accounts Payable            Accounts Receivable
                                                                     Post-Petition       Pre-Petition     Post-Petition
                                                 30 days or less
                                                    31 - 60 days
                                                    61 - 90 days
                                                  91- 120 days
                                                 Over 120 days
                                                       TOTAL:

                                                            V. INSURANCE COVERAGE

                                                                                         Amount of              Policy Expiration             Premium Paid
                                          Name of Carrier                                Coverage                     Date                   Through (Date)
                       General Liability See Schedule of Insurance
                 Worker's Compensation
                               Casualty
                                Vehicle
               Others:


                                          VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                       (TOTAL PAYMENTS)

 Quarterly Period                 Total                                                                                                       Quarterly Fees
  Ending (Date)               Disbursements              Quarterly Fees                  Date Paid                 Amount Paid                 Still Owing
       30-Sep-2017                            0.00                    325.00               29-Nov-20 ] 7                       325.00                          0,00
       31-Dec-2017                                                    325.00                31-Jan-2018                        325.00                          0.00
                                                                                                                                                               0.00
                                                                                                                                                               0.00
                                                                                                                                                               0,00
                                                                                                                                                               0,00
                                                                                                                                                               0,00
                                                                                                                                                               0.00
                                                                                                                                                               0.00
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                                                                                                                                                               0.00
                                                                                                                                                               0,00
                                                                                                                                                               0.00
                                                                                                                                                               0.00
                                                                                                                                                               0.00
                                                                                                                                                               0.00
                                                                                                                                                               0.00
                                                                      650.00                                                   650.00                          0.00

 Post-Petition Accounts Payable SHOULD NOT include professionals' fees and expenses which have been incurred but not yet awarded by the court. Post-Petition
Accounts Payable SHOULD include professionals' fees and expenses authorized by Court Order but which remain unpaid as of the close of the period report

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                                        VII SCHEDULE OF COMPENSATION PAID TO INSIDERS

                                                            Date of Order                                                  Gross
                                                             Authorizing                                              Compensation Paid
             Name of Insider                                Compensation            *Authorized Gross Compensation During the Month
Matthew Pliskin                                                           9/25/2017 $18,000 per month plus travel exp        18,000.00
Louis Geoffrey Greulich                                                   9/25/2017 $35,000 per month plus travel exp        12,500.00




                                                                         •




                                     VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                                           Date of Order
                                                            Authorizing                                                Amount Paid
             Name of Insider                               Compensation                           Description        During the Month

N/A




* Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)

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                                                           IX. PROFIT AND LOSS STATEMENT
                                             (ACCRUAL BASIS ONLY) (Reflects Ironclad California's operations)

                                                                                   Current Month      Cumulative Post-Petition
Sales/Revenue:
   Gross Sales/Revenue                                                                        0.00               3,280,710,04
   Less: Returns/Discounts                                                                    0.00                 583,862.89
                                                           Net Sales/Revenue                  0.00               2,696,847.15

Cost of Goods Sold:
  Cost of Goods Sold                                                                                             1,912,731.53
  Cost of Goods Sold - Freight                                                                                      67,713.47

                                             Cost of Goods Sold (COGS)                        0.00               1,980,445.00

Gross Profit                                                                                  0.00                716,402.16

     Other Operating Income (Itemize)

Operating Expenses:
  Payroll - Insiders                                                                    30,500.00                  457,352.47
  Payroll - Other Employees                                                                                        934,158.23
  Payroll Taxes                                                                                                     51,196.36
  Other Taxes (Itemize)                                                                                                  0.00
  Depreciation and Amortization                                                                                     44,346.16
  Rent Expense - Real Property                                                                                      26,748.73
  Lease Expense - Personal Property                                                                                  1,124.90
  Insurance                                                                               5,765.16                  40,093.50
  Real Property Taxes                                                                                                1,200.00
  Telephone and Utilities                                                                                           20,337.66
  Repairs and Maintenance                                                                                              879.90
  Travel and Entertainment (Itemize)                                                                               122,186.94
  Miscellaneous Operating Expenses (Itemize)                                               962.85                  722,286.48
                              Total Operating Expenses                                  37,228.01                2,421,911.33

                                      Net Gain/(Loss) from Operations                   (37,228.01)             (1,705,509.18)

Non-Operating Income:
  Interest Income                                                                        2,785.83                    9,479.71
  Net Gain on Sale of Assets (Itemize)                                                                          13,137,278.41
  Other (Itemize)
                           Total Non-Operating income                                    2,785.83               13,146,758.12

Non-Operating Expenses:
  Interest Expense                                                                                                 761,520.06
  Legal and Professional (Itemize)                                                                               3,069,193.09
  Other (Itemize) - Income Tax Expense
                         Total Non-Operating Expenses                                         0.00               3,830,713.15

NET INCOME/(LOSS)                                                                       (34,442.18)              7,610,535.79
(Attach exhibit listing all itemizations required above)




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                                                X. BALANCE SHEET
                             (ACCRUAL BASIS ONLY) (Reflects Ironclad California's operations)


ASSETS                                                             Current Month End
  Current Assets:
  Unrestricted Cash                                                     15,364,714.87
  Restricted Cash
  Accounts Receivable                                                       39,743.79
  Inventory
  Notes Receivable
  Prepaid Expenses
  Other (Itemize)
                                           Total Current Assets                                 15,404,458.66

Property, Plant, and Equipment
Accumulated Depreciation/Depletion
                       Net Property, Plant, and Equipment                                                0.00

Other Assets (Net of Amortization):
   Due from Insiders                                                              0.00
  Other (Itemize)
                                             Total Other Assets                                          0.00

TOTAL ASSETS                                                                                    15,404,458.66

LIABILITIES
Post-petition Liabilities:
  Accounts Payable                                                       1,227,553.95
  Taxes Payable                                                            187,083.37
  Notes Payable
   Professional fees                                                     1,415,822.38
  Secured Debt
  Other (Itemize)
                                 Total Post-petition Liabilities                                 2,830,459.70

Pre-petition Liabilities:
   Secured Liabilities
   Priority Liabilities
   Unsecured Liabilities
   Other (Itemize)
                                  Total Pre-petition Liabilities                                         0.00

TOTAL LIABILITIES                                                                                2,830,459.70

EQUITY:
  Pre-petition Owners' Equity                                            4,925,463.17
  Post-petition Profit/(Loss)                                            7,610,535.79
  Direct Charges to Equity                                                  38,000.00
TOTAL EQUITY                                                                                    12,573,998.96
TOTAL LIABILITIES & EQUITY                                                                      15,404,458.66

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                                                    QUESTIONNAIRE


                                                                                                              No        Yes
1.   Has the debtor-in-possession made any payments on its pre-petition unsecured debt, except as
     have been authorized by the court? If "Yes", explain below:
                                                                                                               x


2.   Has the debtor-in-possession during this reporting period provided compensation or remuneration
     to any officers, directors, principals, or other insiders without appropriate authorization? If "Yes",
     explain below:                                                                                           No        Yes


3.   State what progress was made during the reporting period toward filing a plan of reorganization
     Plan went effective on Feb 28 2018.

4.   Describe potential future developments which may have a significant impact on the case:

5. Attach copies of all Orders granting relief from the automatic stay that were entered during the •
   reporting period.


6    Did you receive any exempt income this month, which is not set forth in the operating report.? If
     "Yes". please set forth the amounts and sources of the income below.                                     No        Yes
                                                                                                               x



1,   Matthew Pliskin, CFO,
     declare under penalty of perjury that I have fully read and widerstood the foregoing debtor-in-
     possession operating report and that the information contained herein is true and complete to the
     best of my knowledge.




       3/2 7 I
      Date                                           Page 16 of 16                 Principal for debtor-in-possession
